Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 1 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 2 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 3 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 4 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 5 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 6 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 7 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 8 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 9 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 10 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 11 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 12 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 13 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 14 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 15 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 16 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 17 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 18 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 19 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 20 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 21 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 22 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 23 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 24 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 25 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 26 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 27 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 28 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 29 of 30
Case 9:23-bk-10728-RC   Doc 1 Filed 08/21/23 Entered 08/21/23 12:45:22   Desc
                        Main Document    Page 30 of 30
